           Case 2:25-cv-00197-JCZ-DPC       Document 134-1       Filed 04/03/25   Page 1 of 1


eFile-ProSe

From:                        Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                        Thursday, Aprils, 2025 11:47 PM
To:                          eFile-ProSe

Subject:                      New EDSS Filing Submitted
Attachments:                 SUPPLEMENTAL NOTICE OF DEFAULT AND JUDICIAL OBSTRUCTION UNDER RULE
                              55(a).pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Thursday, April
3, 2025 - 23:47.

The information for this submission is:

Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459


Filer's Case Number (If Known): 2:25-CV-00197

Filer's Case Name (If Known): Rodriguez v, Meta Platforms, Inc., et al

Submitted Document Description: SUPPLEMENTAL NOTICE OF DEFAULT AND JUDICIAL
OBSTRUCTION UNDER RULE 55(a)




                                                      1
